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filed an Amended Complaint. (R. 123). Defendants filed a Joint Motion to Strike the Amended

Complaint, indicating Plaintiff had failed to seek Defendants’ consent or leave of Court. (R.

127). The Motion to Strike (R. 127) is GRANTED. No motion for leave to amend the Complaint

shall be filed until the parties have discussed the issue of amending the pleadings at a planning

meeting and until the Court holds a case management conference providing further instructions.

       IT IS SO ORDERED.

                                              s/ David A. Ruiz
                                              David A. Ruiz
                                              United States District Judge
Date: June 10, 2024




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